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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

SEALED UNIT PARTS CO., INC.,

        Judgment Creditor,

v.                                                   Case No. 8:17-mc-00109-CEH-AEP

SYCOM SURGE, INC. N/K/A BREN
TUCK, INC.; MARK TUCKER; DAVID
ROSS BRENNAN; AND TURNER
SOLUTIONS, INC.

      Judgment Debtors.
____________________________________/

              AGREED MOTION FOR EXTENSION OF TIME TO RESPOND

        Judgment Creditor, SEALED UNIT PARTS CO., INC., moves for an additional forty

five (45) days in which to respond to Judgment Debtor, DAVID ROSS BRENNAN’s, claims of

exemption, and in support, respectfully states as follows:

        In this post-judgment collection action, Judgement Creditor has sought to garnish or levy

upon assets of the Judgment Debtors. One of the Judgment Debtors, Mr. Brennan, has appeared

and asserted certain of his bank accounts, ownership interests, and tenant rents are exempt from

levy by the doctrine of tenants by the entireties under Florida law. See, D.E.s 38, 39, 40, 50, 62,

63, 69, 70, and 72. Judgment Creditor has sought discovery regarding Mr. Brennan’s claims of

exemption, but has not yet obtained sufficient information to formulate a response and litigate

Mr. Brennan’s claims of exemption.

        For example, in order to examine whether Mr. Brennan can properly claim a tenancy by

the entireties exemptions on bank accounts, Judgment Creditor has propounded discovery

seeking to obtain all signature cards for each bank account, which show who was an owner of



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each account at any particular time. Mr. Brennan has provided an initial production, which only

includes one signature card for each account, appearing to show that a change was made to the

names on each of the accounts in early 2017.    Likewise, Mr. Brennan has claimed certain rents

as exempt by tenants by the entireties, but discovery produced thus far has shown at least some

of the rents are products of lease agreements with only Mr. Brennan.

        Further discovery, including interrogatories directed to Mr. Brennan have been served,

and will be answered within the next few weeks.         Additional discovery to Mr. Brennan’s

financial institutions and tenants may be necessary in order to obtain all requested documents.

        WHEREFORE, Judgment Creditor, respectfully requests an extension of time of an

additional forty five (45) days, to respond to Mr. Brennan’s claims of exemption D.E.s 38, 39,

40, 50, 62, 63, 69, 70, and 72.

                                                     /s/ Michael H. Moody
                                                     Michael H. Moody
                                                     Florida Bar No. 66471
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                                                     Counsel for Judgment Creditor


                              CERTIFICATE OF CONFERENCE

        I HEREBY CERTIFY that prior to the filing of this Motion, the undersigned contacted

opposing counsel and obtained consent to the relief requested herein.

                                                     /s/ Michael H. Moody




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this the 16th day of January, 2018, a true and correct copy

of the foregoing was filed electronically using the CM/ECF, and served as follows via CM/ECF

or U.S. Mail:

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                                                        /s/ Michael H. Moody




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